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            Chapter 13 Trustee
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       7                                     UNITED STATES BANKRUPTCY COURT
       8
                                             EASTERN DISTRICT OF CALIFORNIA

       9
            IN RE:                                            CASE NO. 18-10504-B-13F
       10
            Juan Reyes                                        DC NO.:     MHM-2
       11
                                                              CHAPTER 13 PROCEEDING
       12
                                    Debtor                    MOTION TO DISMISS
       13                                                     PURSUANT TO 11 U.S.C. §1307

       14                                                     DATE: May 10, 2018
                                                              TIME: 1:30 PM
       15                                                     PLACE:
                                                                     U.S. Courthouse
       16                                                            5th Floor, Dept. B, Courtroom 13
                                                                     2500 Tulare Street
       17                                                            Fresno, Ca 93721
       18                                                     JUDGE: Hon. Rene Lastreto II
       19
                     TO THE DEBTOR AND HIS ATTORNEY:
       20
                     YOU AND EACH OF YOU are hereby notified that Michael H. Meyer, Chapter 13 Standing
       21
            Trustee, will move to DISMISS the above-referenced case pursuant to §1307 of the Bankruptcy Code
       22
            at the time and place set forth above for the following reason(s):
       23
                         1. Unreasonable delay by the debtor that is prejudicial to creditors. [1307(c)(1)]
       24                2. Cause: Failure to cooperate and surrender to the Trustee recorded information
       25   including books, documents, records, etc. [11 U.S.C. §521(a)(3) and (4)]
       26                -Missing documents:
       27                a.) Authorization to Release Information form

       28
                         b.) 2017 State tax returns




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       1              c.) Complete Class 1 Checklist with most recent mortgage statement
       2              d.) deed of trust
       3              e.) 2016 Jeep sales contract/statement

       4             3. Cause: Failure to file complete and accurate Schedule C, H and J and plan. 11 U.S.C

       5
            §521 and/or F.R.B.P 1007.
                  WHEREFORE, the Trustee requests the court dismiss this case.
       6
            DATED: 4-9-18
       7                                        /s/ Michael H. Meyer
       8
                                                Michael H. Meyer, Chapter 13 Trustee

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